Case 2:24-cv-00080-JRG Document 52-6 Filed 09/18/24 Page 1 of 3 PagelD #: 1007

EXHIBIT 4
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Google Maps Zurich Airport to Chicago O'Hare International Airport

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4. Ziirich, Switzerland—Chicago, IL

Nonstop (2 per day) 9 hr 45 min
Connecting 11 hr 20 min+
Round trip price, Oct 4-8 from $634

SWISS, United, Brussels Airlines...

[4 See results on Google Flights

Explore nearby Chicago O'Hare International
Airport

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Restaurants Hotels Bars Coffee More

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Chicago O'Hare International Airport to Dirksen Drive 25.6 miles, 43 min

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closures on I-90
This route has tolls.

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Crash on I-90 E causing 22-min 18.0 miles
delay

& © 11:35AM—12:20PM 45 min
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